* Reporter's Note: For opinion on demurrers to petitions, see State, ex rel. Herbert, v. Ferguson,Auditor, 142 Ohio St. 496.
It appearing to the court that respondent in the above-entitled causes on the 4th day of February, 1944, issued his voucher in compliance with the prayer of the petitions in each cause, the court finds that the causes should be dismissed.
It is therefore ordered, adjudged and decreed that each of the above-entitled causes be and the same hereby are dismissed at respondent's costs.
Causes dismissed.
WEYGANDT, C.J., MATTHIAS, HART, ZIMMERMAN, BELL, WILLIAMS and TURNER, JJ., concur. *Page 175 